          Case 20-12996-elf    Doc 53Filed 07/27/21 Entered 07/28/21 07:42:49           Desc Main
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                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                      Chapter 13
       MATTHEW B. FORGIE



                              Debtor               Bankruptcy No. 20-12996-ELF



                                                   ORDER

          AND NOW, upon consideration of the Motion to Dismiss Case filed by William C. Miller, Standing

 Trustee, and after notice and hearing, it is hereby ORDERED that this case is DISMISSED and that any wage

 orders previously entered are VACATED.




 Date: July 27, 2021
                                       _________________________________
                                                   Honorable Eric L. Frank
                                                    Bankruptcy Judge

William C. Miller, Trustee
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